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                                 Exhibit 27
           State of California ex. rel. Ven-A-Care of the Florida Keys, Inc. v.
                             Abbott Laboratories, Inc., et al.

  Exhibit to the Declaration of Nicholas N. Paul in Support of Plaintiffs’ Sur-Reply in
Opposition to Defendants’ Joint Brief in Support of Their Motions for Summary Judgment
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                                 Los Angeles, CA

                                                                              Page 294
                  UNITED STATES DISTRICT COURT

                FOR THE DISTRICT OF MASSACHUSETTS

    - - - - - - - - - - - - - - x

    IN RE:   PHARMACEUTICAL      )   MDL NO. 1456

    INDUSTRY AVERAGE WHOLESALE   )   Master File No. 01-12257-PBS

    PRICE LITIGATION             )   Subcategory Case No. 06-11337

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    THIS DOCUMENT RELATES TO:    )   Hon. Patti B. Saris

    State of California, ex rel.)

    Ven-A-Care v. Abbott         )

    Laboratories, Inc., et al.   )   VOLUME II

    - - - - - - - - - - - - - - x

                           Thursday, September 24, 2009

                           9:04 a.m. to 4:19 p.m.

               Videotaped deposition of JEFFREY

    LEITZINGER, Volume II, held at the law offices of

    White & Case, 633 West Fifth Street, 19th Floor,

    Los Angeles, California 90071-2007, the

    proceedings being recorded stenographically by

    Lisa O'Sullivan, California Certified Shorthand

    Reporter No. 7822, RMR, CRR, and transcribed

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                                                                           Page 325
  1
      instruction came to you?
  2
               A.     It's probably late spring or within --
  3
      late spring of this year, maybe even, you know, a
  4
      month or two before the report was provided.
  5
               Q.     Was the report already drafted at some
  6
      level at that point?
  7
               A.     I don't know that any drafting had
  8
      begun at that point, but certainly the process of
  9
      preparing the numbers, preparing schedules, all
10
      of that, was well underway.
11
               Q.     And what's your best recollection as to
12
      anything the State told you as to why they
13
      decided to have you do it that way instead of
14
      using the wholesale markup?
15
               A.     My -- my best sense of it, and I don't
16
      have a specific conversation in mind, but was
17
      that the State, in looking at some of the
18
      decisions that Judge Saris had issued, came to
19
      believe it was appropriate to build in a 25
20
      percent markup.
21
               Q.     Okay.     Anything else?
22
               A.     No.

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